EXHIBIT 1

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THIS NONCOMPETITION AND NONSOLICITATION AGREEMENT is made and
entered into as of February 18, 1998, by and between North Carolina Trust Company, a North
Carolina corporation (the “Trust Company”), and M. JO BROOKS, an officer and employee of

' the Trust Company (“Employee”).
" RECITAL

On February 18, 1998, the Board of Directors of NCT Holdings, Inc. (of which the Trust
Company is a wholly owned subsidiary) pranted a stock option to Employee in recognition of
Employee's value as an officer and key management employee of the Trust Company. The grant
was made subject to the Employee entering into this Agreement and agreeing to the restrictions
on competition and solicitation set forth herein.

NOW, THEREFORE, in consideration of the stock option granted to Employee and in
consideration of the execution and delivery by NCT Holdings, Inc. of the Stock Option
” Agreement of even date herewith evidencing the option, Employee agrees ag follows:

1. Definitions,
(2) “Company Fiduciary Business” shall mean the business of providing

fiduciary services to individuals, trusts, estates, foundations and other nonprofit entities,
employee benefit plans, and corporations, partnerships and other business entities throughout
North Carolina and in other states, and each and every material aspect of providing such

fiduciary services.

(b) “Company Investment Management Business” shali mean the business of

providing investment manapement services to individuals, trusts, estates, foundations and other
nonprofit entities, employee benefit plans, and corporatians, partnerships and other business
entities throughout North Carolina and in other states, and each and every material aspect of
providing such investment management services,

(c} “Restricted Territory” shall mean the State of North Carolina.

(dq) “Restricted Client” shall mean each person (including, withont limitation,
each individual, trust, trustes, estate, executor, foundation or other nonprofit entity, crployee
benefit plan, and corporation, partnership or other business entity) (i) who is a client of the Trust
Company at the time of termination of Employee’s employment or (ii) who was a client at any
time during the one-year period prior to the termination of Employee’s employment or (iii) who

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at the time of termination of Employee’s employment was a prospective client listed on the Trust
Company’s “highest priority” prospect list or its “work-in-process” prospect list.

(e) “Restricted Territory Client” shall mean a Restricted Client having a

residence in the Restricted Territory (in the case of an individual) or having a place of business in
the Restricted Territory (in the case of an entity).

2. Restrictions on Competition and Solicitation During Employes’ s employment by
the Trust Company and, if Employee terminates employment with the Trust Company
voluntarily or if the employment of Employee is terminated by the Trust Company for cause, as
determined in good faith by the Board of Directors of the Trust Company, for a period of 12

months following such termination:

(a) Employee will not, directly or indirectly through others, within the
Restricted Territory:

(i) Engage in the Company Fiduciary Business or any material aspect
thereof for Employee’s own account, as an employee or in any other capacity,
including, without limitation, as a partner, officer, director, member, manager,
principal, agent, trustee or consultant; or

(ii) Engage in the Company Investment Management Business or any
material aspect thereof for Employee’s own account, as an employee or in any
other capacity, including, without limitation, as a partner, officer, director,
member, manager, principal, agent, trustee or consultant;

provided, however, that nothing herein shall prevent Employee from being employed by or
affiliated with any person or entity if Employee’s duties and responsibilities for such person or
entity are unrelated to any material aspect of the Company Fiduciary Business or the Company
investment Management Business and provided further that nothing herein shall prevent

Employee from being a passtve investor in any entity; and

(b) Employee will not, directly or indirectly through others, within the
Restricted Territory or elsewhere:

(i) Provide investment management services or fiduciary services of
the type then offered by the Trust Company to or for any Restricted Client or
supervise, manage or otherwise assist in the rendering of any such services to or

for a Restricted Client;
Gi) Provide investment management services or fiduciary services of
the type then offered by the Trust Company to or for any Restricted Texritory

Client or supervise, manage or otherwise assist in the rendering of any such
services to or for a Restricted Territory Client;

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(ii) Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any Restricted Client for the purpose of providing to the Restricted
Client any investment management services or fiduciary services of the type then
offered by the Trust Company;

(iv) Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any Restricted Territory Client for the purpose of providing to the
Restricted Territory Client any investment management services or fiduciary
services of the type then offered by the Trust Company;

(v) Influence or persuade or attempt to influence or persuade any
Restricted Client to terminate his, her or its relationship with the Trust Company
or otherwise interfere ot attempt to interfere with the relationship between the
Trust Company and any Restricted Client;

(vi) Influence or persuade or attempt to influence or persuade any
Restricted Territory Client to terminate his, her or its relationship with the Trust
Company or otherwise interfere or attempt to interfere with the relationship
between the Trust Company and any Restricted Territory Client; or

(vii) Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any employee of the Trust Company for the purpose of persuading
or influencing the employee to terminate his or her employment with the Trust

Company;

Kach of the foregoing covenants in this Section 2 is separate and independent, and the invalidity
or unenforceability of one or more of these covenants shall not affect the validity or

enforceability of any remaining covenant.

3, Acknowledements. Employee acknowledges that (a) as an officer and key
management employee of the Trust Company, Employee has access to the Trust Company’s
client lists, operational methods and processes, marketing plans and strategies, product
development plans and strategies and other similar information and that the Trust Company
would suffer a competitive disadvantage in the event of Employee’s involvement in the
Company Fiduciary Business, the Company Investment Management Business or any material
aspect thereof in the Restricted Territory duting the 12-month period following termination of
employment; (b) client relationships and the goodwill associated therewith and employee
relationships and the goodwill associated therewith are valuable assets of the Trust Company;
and (c) the Trust Company’s primary client base is in the State of North Carolina but the nature
of its business and the technology in which it has invested permits the Trust Company to serve
clients in other states, including, but not limited to, Virginia, South Carolina, Florida and
Tennessee, Employee further acknowledges having the ability, skills and experience to support

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) }
himself or herself other than by engaging in the Company Fiduciary Business or the Company
Investment Management Business.

en ees es : :. Employee aprees that the
restrictions on competition and solicitation set t forth in this Agreement are reasonable in scope, in
time, in territory and in all other respects and are reasonable and necessary to protect lepitimate
competitive interests and client and employee relationships of the Trust Company. Employee
further acknowledges the uncertainty of the law respecting restrictions on competition and
solicitation and expressly agrees that this Agreement shall be given the construction that renders
its provisions valid and enforceable to the maximum extent (not exceeding its express terms)
possible under applicable law. Without limiting the generality of the foregomg agreement by
Employee, if the duration or geographical extent of, or business activities covered by, this
Agreement are in excess of what is valid and enforceable under applicable law, then the duration,
geographical extent or business activities shall be reduced or limited to the extent necessary so
that this Agreement will be valid and enforceable.

 

5, Remedies: Tolling, If Employee breaches, or threatens to breach, any of the .
restrictions on competition and solicitation contained in this Agreement (the “Restrictions”), the
Trust Company shall have the following rights and remedies, cach of which shail be independent
of the others and severally enforceable, and each of which is in addition to, and not in lieu of, any
other rights and remedies available to the Trust Company under law or in equity:

(a) ‘The right to have an injunction issued by any court of competent
jurisdiction for the purpose of specifically enforcing the Restrictions, it being agreed that
_any breach or threatened breach would cause irreparable injury to the Trust Company and

that money damages would not provide an adequate remedy;

(b) =‘ The right to other equitable relief, including without limitation the right to
an accounting with respect to all compensation, profits, and other benefits derived or
received by the Employes (or by any person, firm, corporation or other entity 6n whose
behalf the Employee acted) as the result of any breach of the Restrictions; and

(c) The right to recover from Employee such reasonable attorneys’ fees and
other costs and expenses as the Trust Company may incur in enforcing this Agreement,

If Employee shall violate any of the Restrictions, such violation shall toli the ramming of the
twelve-month period described in Section 2 above from the date of the violation until the
violation shall cease.

6, Change in Control. Notwithstanding the foregoing provisions of this Agreement,
all obligations of Employee under this Agreement shall terminate upon a “Changs in Control of
the Trust Company.” A “Change in Control of the Trust Company” shall be deemed to have
occured if (a) any “person” (as such term is used in Sections 13(d) and 14(d) of the Securities
Exchange Act of 1934) other than NCT Holdings, Inc. becomes the beneficial owner, directly or

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indirectly, of more than 66-2/3% of the combined voting power of the Trust Company’s
outstanding securities having the right to vote at elections of directors or (b) at any election of
directors of the Trust Company, the majority of those directors in office immediately before the
election are not reelected, unless the election of each director who was not a director immediately
before the election was approved in advance by at least a two-thirds majority of those directors
who were in office immediately before the election.

7. Entire Agreement. This Agreement contains the entire agreement and
understanding of the parties with respect to noncompetition and nonsolicitation and supersedes
and replaces all prior agreements and understandings with respect thereto; provided, however,
that all prior agreements between Employee and the Trust Company with respect to
confidentiality and nondisclosure shall remain in full force and effect.

8. No Employment Contract. Nothing contained in this Agreement shall affect the
at-will nature of the Employee’s employment and the right of the Trust Company or the right of

Employee to terminate Employee's employment at any time and for any reason oT no reason.

9. Migceliancous, This Agreement shall inure to the benefit of the Trust Company
and its successors and assigns and shall be construed in accordance with and governed by the

laws of the State of North Carolina.

IN WITNESS WHEREOR, this Agreement is signed by Employee as of the day frst

above written.
Lh Borst’

“M.JO BROOKS

 

Employee hereby acknowledges receipt from NCT Holdings, Inc. ‘of a Stock Option
Agreement covering 2,000 shares of its Class A Common Stock.

AGS Breohe2

M. IO*BROOKS

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NONCOMPETITION AND NONSOLICITATION AGREEMENT

THIS NONCOMPETITION AND NONSOLICITATION AGREEMENT is made and
‘entered into as of February 18, 1998, by and between North Carolina Trust Company, a North
Carolina corporation (the “Trust Company”), and GLENDA R. BURKETT, an officer and
employee of the Trust Company (“Employee”). a

RECITAL

On February 18, 1998, the Board of Directors of NCT Holdings, Inc. (of which the Trust
Company is a wholiy owned subsidiary) granted a stock option to Employee in recognition of
Employee’s value as an officer and key management employee of the Trust Company. The grant
was made subject to the Employee entering into this Agreement and agreeing to the restrictions

on competition and solicitation set forth herein.

NOW, THEREFORE, in consideration of the stock option granted to Employee and in
consideration of the execution and delivery by NCT Holdings, Inc. of the Stock Option
Agreement of even date herewith evidencing the option, Employee agrees as follows:

1. Definitions.

(a) “Company Fiduciary Business” shall mean the business of providing
fiduciary services to individuals, trusts, estates, foundations and other nonprofit entities,
employee benefit plans, and corporations, partnerships and other business entities throughout
North Carolina and in other states, and each and every material aspect of providing such
fiduciary services.

(b) “Company Investment Management Business” shall mean the business of
providing investment management services to individuals, trusts, estates, foundations and other

nonprofit entities, employee benefit plans, and corporations, partnerships and other business
entities throughout North Carolina and in other states, and each and every material aspect of
providing such investment management services.

(c) “Restricted Territory” shall mean the State of North Carolina.

(4) “Restricted Client” shal] mean each person (including, without limitation,
each individual, trust, trustee, estate, executor, foundation or other nonprofit entity, employee
benefit plan, and corporation, partnership or other business entity) (i) who is a client of the Trust
Company at the time of termination of Employee’s employment or (ii) who was a client at any
time during the one-year period prior to the termination of Employee’s employment or (iii) who

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at the time of termination of Employee’s employment was a prospective client listed on the Trust
Company’s “highest priority” prospect list or its “work-in-process” prospect list.

(e) “Restricted Territory Client” shall mean a Restricted Client having a
residence in the Restricted Territory (in the case of an individual) or having a place of business in
the Restricted Territory (in the case of an entity).

2. Restrictions on Competition and Solicitation. During Employee’s employment by
the Trust Company and, if Employee terminates employment with the Trust Company

voluntarily or if the employment of Employee is terminated by the Trust Company for cause, as
determined in good faith by the Board of Directors of the Trust Company, for a period of 12
months following such termination:

(a) Employee will not, directly or indirectly through others, within the
Restricted Territory:

(i) Engage in the Company Fiduciary Business or any material aspect
thereof for Employee’s own account, as an employee or in any other capacity,
including, without limitation, as a partner, officer, director, member, manager,
principal, agent, trustee or consultant; or .

(ii) | Engage in the Company Investment Management Business or any
material aspect thereof for Employee’s own account, as an employee or in any
other capacity, including, without limitation, as a partner, officer, director,
member, manager, principal, agent, trustee or consultant;

provided, however, that nothing herein shall prevent Employee from being employed by or
affiliated with any person or entity if Employee’s duties and responsibilities for such person or
entity are unrelated to any material aspect of the Company Fiduciary Business or the Company
Investment Management Business and provided further that nothing herein shall prevent
Employee from being a passive investor in any entity; and

(b} Employee will not, directly or indirectly through others, within the
Restricted Territory or elsewhere:

(i) Provide investment management services or fiduciary services of
the type then offered by the Trust Company to or for any Restricted Client or
supervise, manage or otherwise assist in the rendering of any such services to or
for a Restricted Client;

Gi) Provide investment management services or fiduciary services of
the type then offered by the Trust Company to or for any Restricted Territory
Client or supervise, manage or otherwise assist in the rendering of any such
services to or for a Restricted Territory Client;

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Gii) | Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any Restricted Client for the purpose of providing to the Restricted
Client any investment management services or fiduciary services of the type then
offered by the Trust Company;

(iv) Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any Restricted Territory Client for the purpose of providing to the
Restricted Territory Client any investment management services or fiduciary
services of the type then offered by the Trust Company;

(v) Influence or persuade or attempt to influence or persuade any
Restricted Client to terminate his, her or its relationship with the Trust Company
or otherwise interfere or attempt to interfere with the relationship between the
Trust Company and any Restricted Client;

(vi) Influence or persuade or attempt to influence or persuade any
Restricted Territory Client to terminate his, her or its relationship with the Trust
Company or otherwise interfere or attempt to interfere with the relationship
between the Trust Company and any Restricted Territory Client; or

(vii) Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any employee of the Trust Company for the purpose of persuading
or influencing the employee to terminate his or her employment with the Trust
Company;

Each of the foregoing covenants in this Section 2 is separate and independent, and the invalidity
or unenforceability of one or more of these covenants shall not affect the validity or
enforceability of any remaining covenant.

3. Acknowledgments. Employee acknowledges that (a) as an officer and key
management employee of the Trust Company, Employee has access to the Trust Company’s
client lists, operational methods and processes, marketing plans and strategies, product
development plans and strategies and other similar information and that the Trust Company
would suffer a competitive disadvantage in the event of Employee’s involvement in the
Company Fiduciary Business, the Company Investment Management Business or any material
aspect thereof in the Restricted Territory during the 12-month period following termination of
employment; (b) client relationships and the goodwill associated therewith and employee
relationships and the goodwill associated therewith are valuable assets of the Trust Company;
and (c) the Trust Company’s primary client base is in the State of North Carolina but the nature
of its business and the technology in which it has invested permits the Trust Company to serve
clients in other states, including, but not limited to, Virginia, South Carolina, Florida and
Tennessee. Employee further acknowledges having the ability, skills and experience to support

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himself or herself other than by engaging in the Company Fiduciary Business or the Company
Investment Management Business.

4, Reasonableness of Restrictions: Blue Pencil Doctrine. Employee agrees that the
restrictions on competition and solicitation set forth in this Agreement are reasonable in scope, in
time, in territory and in all other respects and are reasonable and necessary to protect legitimate
competitive interests and client and employee relationships of the Trust Company. Employee
further acknowledges the uncertainty of the law respecting restrictions on competition and.
solicitation and expressly agrees that this Agreement shall be given the construction that renders
its provisions valid and enforceable to the maximum extent (not exceeding its express terms)
possible under applicable law. Without limiting the generality of the foregoing agreement by
- Employee, if the duration or geographical extent of, or business activities covered by, this
Agreement are in-excess of what is valid and enforceable under applicable law, then the duration,
geographical extent or business activities shall be reduced or limited to the extent necessary so

that this Agreement will be valid and enforceable.

5. Remedies: Tolling. If Employee breaches, or threatens to breach, any of the
restrictions on competition and solicitation contained in this Agreement (the “Restrictions”, the
Trust Company shal! have the following rights and remedies, each of which shall be independent
of the others and severally enforceable, and each of which is in addition to, and not mm lieu of, any
other rights and remedies available to the Trust Company under law or in equity:

(a) The right to have an injunction issued by any court of competent
jurisdiction for the purpose of specifically enforcing the Restrictions, it being agreed that
any breach or threatened breach would cause irreparable injury to the Trust Company and
that money damages would not provide an adequate remedy;

(b) =‘ The right to other equitable relief, including without limitation the right to
an accounting with respect to all compensation, profits, and other benefits derived or
received by the Employee (or by any person, firm, corporation or other entity on whose
behalf the Employee acted) as the result of any breach of the Restrictions; and

(c) The right to recover from Employee such reasonable attorneys’ fees and
other costs and expenses as the Trust Company may incur in enforcing this Agreement.

If Employee shall violate any of the Restrictions, such violation shall toll the running of the
twelve-month period described in Section 2 above from the date of the violation until the
violation shall cease.

6. Change in Control. Notwithstanding the foregoing provisions of this Agreement,
all obligations.of Employee under this Agreement shall terminate upon a “Change in Control of
the Trust Company.” A “Change in Control of the Trust Company” shall be deemed to have
occurred if (a) any “person” (as such term is used in Sections 13(d) and 14(d) of the Securities
Exchange Act of 1934) other than NCT Holdings, Inc. becomes the beneficial owner, directly or

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indirectly, of more than 66-2/3% of the combined voting power of the Trust Company’s
outstanding securities having the right to vote at elections of directors or (b) at any election of
directors of the Trust Company, the majority of those directors in office immediately before the
election are not reelected, unless the election of each director who was not a director immediately
before the election was approved in advance by at least a two-thirds majority of those directors
who were in office immediately before the election.

7. Entire Agreement. This Agreement contains the entire agreement and
understanding of the parties with respect to noncompetition and nonsolicitation and supersedes
and replaces all prior agreements and understandings with respect thereto; provided, however,
that all prior agreements between Employee and the Trust Company with respect to
confidentiality and nondisclosure shall remain in full force and effect.

8. No Employment Contract. Nothing contained in this Agreement shall affect the

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at-will nature of the Employee’s employment and the right of the Trust Company or the right of
Employee to terminate Employee’s employment at any time and for any reason or no reason.

9. Miscellaneous. This Agreement shall inure to the benefit of the Trust Company
and its successors and assigns and shall be construed in accordance with and governed by the
laws of the State of North Carolina.

IN WITNESS WHEREOF, this Agreement is signed by Employee as of the day first .
above written. —

Honda. Cush

GLENDA R. BURKETT

ACKNOWLEDGMENT

Employee hereby acknowledges receipt from NCT Holdings, Inc. of a Stock Option
Agreement covering 1,000 shares of its Class A Common Stock.

Bld bh. Burkett

GLENDA R. BURKETT

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NONCOMPETITION AND NONSOLICITATION AGREEMENT

THIS NONCOMPETITION. AND NONSOLICITATION AGREEMENT is made and
entered into as of February 18, 1998, by and between North Carolina Trust Company, a North
Carolina corporation (the “Trust Company”), and ANTHONY P. MONFORTON, an officer and ~

employee of the Trust Company (“Employee”).
RECITAL

On February 18, 1998, the Board of Directors of NCT Holdings, Inc. (of which the Trust
Company is a wholly owned subsidiary) granted a stock option to Employee in recognition of
Employee’s value.as an officer and key management employee of the Trust Company. The grant
was made subject to the Employee entering into this Agreement and agreeing to the restrictions
on competition and solicitation set forth herein.

“NOW, THEREFORE, in consideration of the stock option granted to Employee and in
consideration of the execution and delivery by NCT Holdings, Inc. of the Stock Option
Agreement of even date herewith evidencing the option, Employee agrees as follows:

1. Definitions.

(a) - “Company Fiduciary Business” shall mean the business of providing

fiduciary services to individuals, trusts, estates, foundations and other nonprofit entities,
employee benefit plans, and corporations, partnerships and other business entities throughout
North Carolina and in other states, and each and every material aspect of providing such

fiduciary services.

(b) “Company Investment Management Business” shall mean the business of

providing investment management services to individuals, trusts, estates, foundations and other
nonprofit entities, employee benefit plans, and corporations, partnerships and other business
entities throughout North Carolina and in other states, and each and every material aspect of
providing such investment management services.

(c) “Restricted Territory” shall mean the State of North Carolina.

(d) “Restricted Client” shall mean each person (including, without limitation,
each individual, trust, trustee, estate, executor, foundation or other nonprofit entity, employee
benefit plan, and corporation, partnership. or other business entity) (i) who is a client of the Trust
Company at the time of termination of Employee’s employment or (ii) who was a client at any
time during the one-year period prior to the termination of Employee’s employment or (iii) who

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at the time of termination of Employee’s employment was a prospective client listed on the Trust
Company’s “highest priority” prospect list or its “work~in-process” prospect list.

(e) “Restricted Territory Client” shall mean a Restricted Client having a

residence in the Restricted Territory (in the case of an individual) or having a place of business in
the Restricted Territory (in the case of an entity).

2. Restrictions on Competition and Solicitation. During Employee’s employment by
the Trust Company and, if Employee terminates employment with the Trust Company
voluntarily or if the employment of Employee is terminated by the Trust Company for cause, as
determined in good faith by the Board of Directors of the Trust Company, for a period of 12

months following such termination:

(a) Employee will not, directly or indirectly through others, within the

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(i) Engage in the Company Fiduciary Business or any material aspect
thereof for Employee’s own account, as an employee or- in any other capacity,
including, without limitation, as a partner, officer, director, member, manager,
principal, agent, trustee or consultant; or

(ii) Engage in the Company Investment Management Business or any
material aspect thereof for Employee’s own account, as an employee or in any
other capacity, including, without limitation, as a partner, officer, director,
member, manager, principal, agent, trustee or consultant,

provided, however, that nothing herein shall prevent Employee from being employed by or
affiliated with any person or entity if Employee’s duties and responsibilities for such person or
entity are unrelated to any material aspect of the Company Fiduciary Business or the Company
Investment Management Business and provided further that nothing herein shall prevent
Employee from being a passive investor in any entity; and

(b) Employee will not, directly or indirectly through others, within the
Restricted Territory or elsewhere:

(i} Provide investment management services or fiduciary services of
the type then offered by the Trust Company to or for any Restricted Client or
supervise, manage or otherwise assist in the rendering of any such services to or

_for a Restricted Client;

(ii) Provide investment management services or fiduciary services of
the type then offered by the Trust Company to or for any Restricted Territory
Client or supervise, manage or otherwise assist in the rendering of any such
services to or for a Restricted Territory Client;

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(iii) Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any Restricted Client for the purpose of providing to the Restricted
Client any investment management services or fiduciary services of the type then

offered by the Trust Company;

(iv) Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any Restricted Territory Client for the purpose of providing to the
Restricted Territory Client any investment management services or fiduciary

services of the type then offered by the Trust Company;

(v) Influence or persuade or attempt to influence or persuade any
Restricted Client to terminate his, her or its relationship with the Trust Company
or otherwise interfere or attempt to interfere with the relationship between the
Trust Company and any Restricted Client;

(vi) Influence or persuade or attempt to influence or persuade any
Restricted Territory Client to terniinate his, her or its relationship with the Trust
Company or otherwise interfere or attempt to interfere with the relationship
between the Trust Company and any Restricted Territory Client; or

(vii) Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any employee of the Trust Company for the purpose of persuading
or influencing the employee to terminate his or her employment with the Trust

Company;

Each of the foregoing covenants in this Section 2 is separate and independent, and the invalidity
or unenforceability of one or more of these covenants shall not affect the validity or

enforceability of any remaining covenant.

3. Acknowledgments. Employee acknowledges that (a) as an officer and key
management employee of the Trust Company, Employee has access to the Trust Company’s
client lists, operational methods and processes, marketing plans and strategies, product
development plans and strategies and other similar information and that the Trust Company
would suffer a competitive disadvantage in the event of Employee’s involvement in the
Company Fiduciary Business, the Company Investment Management Business or any material
aspect thereof in the Restricted Territory during the 12-month period following termination of
employment; (b) client relationships and the goodwill associated therewith and employee
relationships and the goodwill associated therewith are valuable assets of the Trust Company;
and (c) the Trust Company’s primary client base is in the State of North Carolina but the nature

-of its business and the technology in which it has invested permits the Trust Company to serve
clients in other states, including, but not limited to, Virginia, South Carolina, Florida and
Tennessee. Employee further acknowledges having the ability, skills and experience to support

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himself or herself other than by engaging in the Company Fiduciary Business or the Company
Investment Management Business.

4, Reasonableness of Restrictions; Blue Pencil Doctrine. Employee agrees that the

restrictions on competition and solicitation set forth in this Agreement are reasonable in scope, in
time, in territory and in all other respects and are reasonable and necessary to protect legitimate
competitive interests and client and employee relationships of the Trust Company. Employee
further acknowledges the uncertainty of the law respecting restrictions on competition and

solicitation and expressly agrees that this Agreement shall be given the construction that renders

its provisions valid and enforceable to the maximum extent (not exceeding its express terms)
possible under applicable law. Without limiting the generality of the foregoing agreement by
Employee, if the duration or geographical extent of, or business activities covered by, this
Agreement are in excess of what is valid and enforceable under applicable law, then the duration,
geographical extent or business activities shall be reduced or limited to the extent necessary so
that this Agreement will be valid and enforceable.

5. Remedies: Tolling. If Employee breaches, or threatens to breach, any of the .
restrictions on competition and solicitation contained in this Agreement (the “Restrictions”), the

Trust Company shail have the following rights and remedies, each of which shall be independent
of the others and severally enforceable, and each of which is in addition to, and not in lieu of, any
other rights and remedies available to the Trust Company under law or in equity:

_ (a The right to have an injunction issued by any court of competent
jurisdiction for the purpose of specifically enforcing the Restrictions, it being-agreed that
any breach or threatened breach would cause irreparable injury to the Trust Company and
that money damages would not provide an adequate remedy;

(b) The right to other equitable relief, including without limitation the right to
an accounting with respect to all compensation, profits, and other benefits derived or
received by the Employee (or by any person, firm, corporation or other entity on whose
behalf the Employee acted) as the result of any breach of the Restrictions; and

{c) The right to recover from Employee such reasonable attorneys’ fees and
other costs and expenses as the Trust Company may incur in enforcing this Agreement.

If Employee shall violate any of the Restrictions, such violation shall toll the running of the
twelve-month period described in Section 2 above from the date of the violation until the

violation shall cease.

- 6. Change in Control. Notwithstanding the foregoing provisions of this Agreement,
all obligations of Employee under this Agreement shall terminate upon a “Change in Control of
the Trust Company.” A “Change in Control of the Trust Company” shall be deemed to have
occurred if (a) any “person” (as such term is used in Sections 13(d) and 14(d) of the Securities
Exchange Act of 1934) other than NCT Holdings, Inc. becomes the beneficial owner, directly or

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indirectly, of more than 66-2/3% of the combined voting power of the Trust Company’s
outstanding securities having the right to vote at elections of directors or (b) at any election of
directors of the Trust Company, the majority of those directors in office immediately before the
election are not reelected, unless the election of each director who was not a director immediately
before the election was approved in advance by at least a two-thirds majority of those directors
who were in office immediately before the election.

7. Entire Agreement. This Agreement contains the entire agreement and
understanding of the parties with respect to noncompetition and nonsolicitation and supersedes
and replaces all prior agreements and understandings with respect thereto; provided, however,

that all prior agreements between Employee and the Trust Company with respect to
confidentiality and nondisclosure shall remain in full force and effect.

8. No Employment Contract. Nothing contained in this Agreement shall affect the
_ at-will nature of the Employee’s employment and the right of the Trust Company or the right of
Employee to terminate Employee’s employment at any time and for any reason or no reason.

9. Miscellaneous. This Agreement shall inure to the benefit of the Trust Company
and its successors and assigns and shall be construed in accordance with and governed by the

laws of the State of North Carolina.

IN WITNESS WHERECF, this Agreement is signed by Employee as of the day first
above written.

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ANTHONY P. MONFORTON

ACKNOWLEDGMENT

Employee hereby acknowledges receipt from NCT Holdings, Inc. of a Stock Option
Agreement covering 2,500 shares of its Class A Common Stock.

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ANTHONY P: MONFORTON

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NONCOMPETITION AND NONSOLICITATION AGREEMENT

THIS NONCOMPETITION AND NONSOLICITATION AGREEMENT is made and .
entered into as of February 18, 1998, by and between North Carolina Trust Company, a North
Carolina corporation (the “Trust Company”), and VIRGINIA B. SASLOW, an officer and

employee of the Trust Company (“Employee”). -
_ RECITAL

On February 18, 1998, the Board of Directors of NCT Holdings, Inc. (of which the Trust
Company is a wholly owned subsidiary) granted a stock option to Employce in recognition of
Employee’s value as an officer and key management employee of the Trust Company. The grant

was made subject to the Employee entering into this Agreement and agreeing to the restrictions
on competition and solicitation set forth herein.

NOW, THEREFORE, in consideration of the stock option granted to Employes and in
consideration of the exectition and delivery by NCT Holdings, Inc. of the Stock Option
Agreement of even date herewith evidencing the option, Employee agrees as follows:

1 Definitions.
(a) “Company Fiduciary Business” shal] mean the business of providing

fiduciary services to individuals, trusts, estates, foundations and other nonprofit entities,
employes benefit plans, and corporations, partnerships and other business entities throughout
North Carolina and in other states, and each and every material aspect of providing such —

fiduciary services.

(b) “Company Investment Management Business” shall mean the business of
providing investment management services to individuals, trusts, estates, foundations and other
nonprofit entities, employee benefit plans, and corporations, partnerships and other business
entities throughout North Carolina and in other states, and each and every material aspect of
providing such investment management services.

‘(c} “Restricted Territory” shall mean the State of North Carolina.

(d) “Restricted Client” shall mean each person (including, without limitation,
each individual, trust, trustee, estate, executor, foundation or other nonprofit entity, employee
benefit plan, and corporation, patinership or other business entity) (i) who is a client of the Trust
Company at the time of termination of Employee’s employment or (ii) who was a client at any

time during the one-year period prior fo the termination of Employee’s employment or (iii) who
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at the time of termination of Employee’s employment was a prospective client listed on the Trust
Company's “highest priority” prospect list or its “work-in-process” prospect list. .

(e) “Restricted Territory Client” shall mean a Restricted Client having a
residence in the Restricted Territory (in the case of an individual) or having a place of business in
the Restricted Territory (in the case of an entity).

2. Restrictions on Competition and Solicitation. During Employee’s employment by
the Trust Company and, if Employes terminates employment with the Trust Company
voluntarily or if the employment of Employee is terminated by the Trust Company for cause, as
determined in good faith by the Board of Directors of the Trust Company, for a period of 12
months following such termination: .

(a). Employce will not, directly or indirectly through others, within the
Resiricted Territory: _

(i) Engage in the Company Fiduciary Business or any material aspect
thereof for Employee’s own account, as an employee or in any other capacity,
including, without limitation, as a partner, officer, director, member, manager,
principal, agent, trustee or consultant; or

(ii) | Engage in the Company Investment Management Business or any
material aspect thereof for Employee’s own account, as an employee or in any
other capacity, including, without Limitation, as a parner, officer, director,
member, manager, principal, agent, trustee or consultant;

provided, however, that nothing herein shall prevent Employee from being employed by or
affiliated with any person or entity if Employee's duties and responsibilities for such person or
entity ate unrelated to any material aspect of the Company Fiduciary Business or the Company
Investtnent Management Business and provided further that nothing herein shall prevent.
Employee from being a passive investor in any entity; and.

(b). Employee will not, directly or indirectly through others, within the
Restricted Territory or elsewhere:

. (i) - Provide investment management services or fiduciary services of
the type then offered by the Trust Company to or for any Restricted Client or
supervise, manage or otherwise assist in the rendering of any such services to or
for a Restricted Client;

(ii) - Provide investment management services or fiduciary services of
the type then offered by the Trust Company to or for any Restricted Territory
Client or supervise, manage or otherwise assist in the rendering of any such
services to of for a Restricted Territory Client;

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(ii) Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any Restricted Client for the purpose of providing to the Restricted
Client any investment management services or fiduciary services of the type then:
offered by the Trust Company; ,

(iv) Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any Restricted Territory Client for the purpose of providing to the
Restricted Territory Client any investment management services or fiduciary
services of the type then offered by the Trust Company;

_ (v) Influence or persuade or attempt to influence or persuade any
Restricted Client to terminate his, her or its relationship with the Trust Company
or otherwise interfere or attempt to interfere with the relationship between the
Trust Company and any Restricted Chant;

(vi) Influence or persuade or attempt to influence or persuade any -
Restricted Territory Client to terminate his, her or its relationship with the Trust ~
Company or otherwise interfere or attempt to interfere with the relationship
between the Trust Company and any Restricted Territory Client; or

(vii) Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any employee of the Trust Company for the purpose of persuading
orinfluencing the employee to terminate his or her employment with the Trust

Company;

Fach of the foregoing covenants in this Section 2 is separate and independent, and the invalidity
or unenforceability of one or more of these covenants shall not affect the validity or

enforceability of any remaining covenant.

3, Acknowledgments. Employee acknowledges that (a) as an officer and key
"management employee of the Trust Company, Employes has access to the Trust Company’s
client lists, operational methods and processes, marketing plans and strategies, product
development plans and strategies and other similar information and that the Trust Company
would suffer a competitive disadvantage in the event of Employee’s involvement in the
Company Fiduciary Business, the Company Investment Management Business or any material
aspect thereof in the Restricted Territory during the 12-month period following termination of
employment; (b) client relationships and the goodwill associated therewith and employee.
relationships and the goodwill associated therewith are valuable assets of the Trust Company;
and (c) the Trust Company’s primary client base is in the State of North Carolina but the nature
of its business and the technology in which it has invested permits the Trust Company to serve
clients in other states, including, but not limited to, Virginia, South Carolina, Florida and
Tennessee. Employce further acknowledges having the ability, skills and experience to support

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‘nimself or herself other than by engaging in the Company Fiduciary Business or the Company
Investment Management Business.

4..’  Reasonableness of Restrictions: Blue Pencil Doctrine, Employee agrees that the
restrictions on competition and solicitation set forth in this Agreement are reasonable in scope, in
time, in territory and in all other respects and are reasonable and necessary to protect legitimate
competitive interests and client and employee relationships of the Trust Company. Employee
further acknowledges the uncertainty of the law respecting restrictions on competition and

' solicitation and expressly agrees that this Agreement shall be given the construction that renders

_ its provisions valid and enforceable to the maximum extent (not exceeding ifs express terms)
possible under applicable law. Without limiting the generality of the foregoing agreement by
Employee, if the duration or geographical extent of, or business activities covered by, this
Agreement are in excess of what ‘5 valid and enforceable under applicable law, then the duration, .
geographical extent or business activities shall be reduced or limited to the extent necessary so
that this Agreement will be valid and enforceable.

5: Remedies: Tolling. If Employee breaches, or threatens to breach, any of the
restrictions on competition and solicitation contained in this Agreement (the ‘Pestrictions”), the
Trust Company shall have the following rights and remedies, each of which shall be independent
of the others and severally enforceable, and each of which is in addition to, and not in lieu of, any .

_ other rights and remedies available to the Trust Company under law or in equity:

(a) The tight to have an injunction issued by any court of competent
jurisdiction for the purpose of specifically enforcing the Restrictions, it being agreed that
any breach or threatened breach would cause irreparable injury to the Trust Company and
that money damages would not provide an adequate remedy;

(b) The right to other equitable relief, including without limitation the right to
an accounting with respect to all comp ensation, profits, and other benefits derived or
received by the Employee (or by any person, firm, corporation or other entity on whose
behalf the Employee acted) as the result of any breach of the Restrictions; and

(c) . The right to recover from Employee such reasonable attorneys’ fees and
other costs and expenses as the Trust Company may incur in enforcing this Agreement.

If Employee shall violate any of the Restrictions, such violation shall toll the running of the
twelve-month period described in Section 2 above from the date of the violation until the

violation shall cease.

6. Change in Control. Notwithstanding the foregoing provisions of this Agreement,
all obligations of Employee under this Agreement shall terminate upon a “Change in Control of
the Trost Company.” A “Change in Control of the Trust Company” shall be deemed to have
occurred if (a) any “person” (as such term is used in Sections 13(d) and 14(d) of the Securities
Exchange Act of 1934) other than NCT Holdings, Inc. becomes the beneficial owner, directly or

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indirectly, of more than 66-2/3% of the combined voting power of the Trust Company’s
outstanding securities having the right to vote at elections of directors or (b) at any election of
directors of the Trust Company, the majority of those directors in office immediately before the
election are not reelected, unless the election of each director who was not a director immediately
before the election was approved in advance by at least a two-thirds majority of those directors
who were in office immediately before the election.

7, Entire Agreement. This Agreement contains the entire agreement and
understanding of the parties with respect to noncompetition and nonsolicitation and supersedes
_ and replaces all prior agreements and understandings with respect thereto: provided, however,
that all prior agreements between Employee and the Trust Company with respect to
confidentiality and nondisclosure shall remain in full force and effect.

8. No Employment Contract. Nothing contained in this Agreement shall affect the

at-will nature of the Employee’s employment and the right of the Trust Company or the right of
Pmployee to terminate Employee’s emnloyment at any time and for any reason or no reason.

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9. Miscellaneous. This Agreement shall inure to the benefit of the Trust Company
and its successors and assigns and shall be construed in accordance with and governed by the
laws of the State of North Carolina.

IN WITNESS WHEREOF, this Agreement is signed by Employee as of the day first

above written.
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Viki B. SASLOW

ACKNOWLEDGMENT
Employee hereby acknowledges receipt from NCT Holdings, Inc. of a Stock Option
Agreement covering 750 shares of its Class A Common Stock.

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NONCOMPETITION AND NONSOLICITATION AGREEMENT

THIS NONCOMPETITION AND NONSOLICITATION AGREEMENT is made and -
entered into as of February 18, 1998, by and between North Carolina Trust Company, a North
_ Carolina corporation (the “Trust Company”), and WILLIAM W. WATSON, an officer and

employee of the Trust Company (“Employee”).
RECITAL

On February 18, 1998, the Board of Directors of NCT Holdings, Inc. (of which the Trust

Company is a wholly owned subsidiary) granted a stock option to Employee in recognition of
Employee’s value as an officer and key management employee of the Trust Company. The grant
was made subject to the Employee entering into this Agreement and agreeing to the restrictions
on competition and solicitation set forth here.

NOW, THEREFORE, in consideration of the stock option granted to Employee and in
consideration of the execution and delivery by NCT Holdings, Inc. of the Stock Option
Agreement of even date herewith evidencing the option, Employee agrees as follows:

1. Definitions.
(a) “€ ‘ompany Fiduciary Business” shall mean the business of providing

fiduciary services to individuals, trusts, estates, foundations and other nonprofit entities,
employce benefit plans, and corporations, partnerships and other business entities throughout
North Carolina and in other states, and each and every material aspect. of providing such

fiduciary services.

(6) “Company Investment Management Business” shall mean the business of

- providing investment management services to individuals, trusts, estates, foundations and other
nonprofit entities, employee benefit plans, and corporations, partnerships and other business
entities throughout North Carolina and in other states, and each and every material aspect of
providing such investment management services.

(c) “Restricted Territory” shall mean the State of North Carolina.

(d) “Restricted Client” shall mean each person (including, without limitation,
each individual, trust, trustee, estate, executor, foundation or other nonprofit entity, employee
benefit plan, and corporation, partnership or other business entity) (i) who is a client of the Trust
Company at the time of termination of Employee’s employment or (11) who was a client at any
time during the one-year period prior to the termination of Employee’s employment or (iti) who

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at the time of termination of Employee’s employment was a prospective client listed on the Trust
Company’s “highest priority” prospect list or its “work-in-process” prospect list.

(e) “Restricted Territory Client” shall mean a Restricted Client having a

residence in the Restricted Territory (in the case of an individual) or having a place of business in
the Restricted Territory (in the case of an entity).

2. ictions on olicitation. During Employee’s employment by

the Trust Company and, if Employer terminates employment with the Trust Company
voluntarily or if the employment of Employee is terminated by the Trust Company for cause, as
_ determined in good faith by the Board of Directors of the Trust Company, for a period of 12

months following such termination:

(a) Employee will not, directly or indirectly through others, within the
Restricted Territory:

(i) Engage in the Company Fiduciary Business or any material aspect
thereof for Employee’s own account, as an employee or in any other capacity,
including, without limitation, as a partner, officer, director, member, manager,
principal, agent, trustee or consultant; or

(ii) | Engage in the Company Investment Management Business or any
material aspect thereof for Employee’s own account, as an employee or inany -
other capacity, including, without limitation, as a partner, officer, director,
member, manager, principal, agent, trustee or consultant;

provided, however, that nothing herein shall prevent Employee from being employed by or
affiliated with any person or entity if Employee’s duties and responsibilities for such person or
entity are unrelated to any material aspect of the Company Fiduciary Business or the Company
Investment Management Business and provided further that nothing herein shall prevent

Employee from being a passive investor in any entity; and

(b) Employee will not, directly or indirectly through others, within the
Restricted Territory or elsewhere:

(i) Provide investment management services or fiduciary services of
the type then offered by the Trust Company to or for any Restricted Client or
supervise, manage or otherwise assist inthe rendering of any such services to or

for a Restricted Client;

(ii) Provide investment management services or fiduciary services of
the type then offered by the Trust Company to or for any Restricted Territory
Client or supervise, manage or otherwise assist in the rendering of any such
services to or for a Restricted Territory Client;

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(iii) | Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any Restricted Client for the purpose of providing to the Restricted
Client any investment management services or fiduciary services of the type then
offered by the Trust Company;

(iv) Cali upon or cause to be called upon, or solicit or assist in the
solicitation of, any Restricted Territory Client for the purpose of providing to the
_ Restricted Territory Client any investment management services or fiduciary
services of the type then offered by the Trust Company;

(v) Influence or persuade or attempt to influence or persuade any
Restricted Client to terminate his, her or its relationship with the Trust Company
or otherwise interfere or attempt to interfere with the relationship between the
Trust Company and any Restricted Client; —

(vi) Influence or persuade or attempt to influence or persuade any
Restricted Territory Client to terminate his, her or its relationship with the Trust
Company or otherwise interfere or attempt to interfere with the relationship
between the Trust Company and any Restricted Territory Client; or

(vii) Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any employee.of the Trust Company for the purpose of persuading
or influencing the employee to terminate his or her employment with the Trust

Company;

Each of the foregoing covenants in this Section 2 is separate and independent, and the invalidity
or unenforceability of one or more of these covenants shall not affect the validity or
enforceability of any remaining covenant.

3. Acknowledgments. Employee acknowledges that (a) as an officer and key
management employee of the Trust Company, Employee has access to the Trust Company’s
_ client lists, operational methods and processes, marketing plans and strategies, product
development plans and strategies and other similar information and that the Trust Company
would suffer a competitive disadvantage in the event of Employee’s involvement in the
Company Fiduciary Business, the Company Investment Management Business or any material
aspect thereof in the Restricted Territory during the 12-month period following termination of
employment; (b) client relationships and the goodwill associated therewith and employee
relationships and the goodwill associated therewith are valuable assets of the Trust Company,
and (c) the Trust Company’s primary client base is in the State of North Carolina but the nature ©
of its business and the technology in which it has invested permits the Trust Company to serve
clients in other states, including, but not limited to, Virginia, South Carolina, Florida and
Tennessee. Employee further acknowledges having the ability, skills and experience to support

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himself or herself other than by engaging in the Company Fiduciary Business or the Company
Investment Management Business. .

4.  Reasonableness of Restrictions; Blue Pencil Doctrine. Employee agrees that the
restrictions on competition and solicitation set forth in this Agreement are reasonable in scope, in
time, in territory and in all other respects and are reasonable and necessary to protect legitimate
competitive interests and client and employee relationships. of the Trust Company. Employee
further acknowledges the uncertainty of the law respecting restrictions on competition and.
solicitation and expressly agrees that this Agreement shall be given the construction that renders
its provisions valid and enforceable to the maximum extent (not exceeding its express terms)
possible under applicable law. Without limiting the generality of the foregoing agreement by
Employee, if the duration or geographical extent of, or business activities covered by, this
Agreement are in excess of what is valid and enforceable under applicable law, then the duration,
geographical extent or business activities shall be reduced or limited to the extent necessary so

that this Agreement will be valid and enforceable.

5. Remedies: Tolling. If Employee breaches, or threatens to breach, any of the
restrictions on competition and solicitation contained in this Agreement (the “Restrictions”), the
Trust Company shall have the following rights and remedies, each of which shall be independent
of the others and severally enforceable, and each of which is in addition to, and not in lieu of, any

_other rights and remedies available to the Trust Company under law or in equity:

(a) The right to have an injunction issued by any court of competent
jurisdiction for the purpose of specifically enforcing the Restrictions, it being agreed that
any breach or threatened breach would cause irreparable injury to the Trust Company and
that money damages would not provide an adequate remedy;

(b) The right to other equitable relief, including without limitation the right to
an accounting with respect to all compensation, profits, and other benefits derived or -

__ received by the Employee (or by any person, firm, corporation or other entity on whose
behalf the Employee acted) as the result of any breach of the Restrictions; and.

(c) The right to recover from Employee such reasonable attorneys’ fees and
other costs and expenses as the Trust Company may incur in enforcing this Agreement.

If Employee shall violate any of the Restrictions, such violation shall toll the running of the
twelve-month period described in Section 2 above from the date of the violation until the

violation shall cease.

- 6. ‘Change in Control. Notwithstanding the foregoing provisions of this Agreement,
all obligations of Employee under this Agreement shall terminate upon a “Change in Control of
the Trust Company.” A “Change in Control of the Trust Company” shall be deemed to have
occurred if (a) any “person” (as such term is used in Sections 13(d) and 14(d) of the Securities
Exchange Act of 1934) other than NCT Holdings, inc. becomes the beneficial owner, directly or

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indirectly, of more than 66-2/3% of the combined voting power of the Trust Company’s
outstanding securities having the right to vote at elections of directors or (b) at any election of
directors of the Trust Company, the majority of those directors in office immediately before the
‘election are not reelected, unless the election of each director who was not a director immediately
before the election was approved in advance by at least a two-thirds majority of those directors

who were in office immediately before the election.

7. Entire Agreement. This Agreement contains the entire agreement and
understanding of the parties with respect to noncompetition and nonsolicitation and supersedes
and replaces all prior agreements and understandings with respect thereto, provided, however,
that all prior agreements between Employee and the Trust Company with respect to
_ confidentiality and nondisclosure shall remain in full force and effect.

8. No Employment Contract. Nothing contained in this Agreement shall affect the
at-will nature of the Employee’s employment and the right of the Trust Company or the right of

Employee to terminate Employee’s employment at any time and for any reason or no reason.

9. Miscellaneous. This Agreement shail inure to the benefit of the Trust Company
and its successors and assigns and shall be construed i in accordance with and governed by the

laws of the State of North Carolina.

IN WITNESS WHEREOF, this Agreement is signed by Employee as of the day first
_ above written. , .

Whee td:

WILLIAM W. WATSON

ACKNOWLEDGMENT

Employee hereby acknowledges receipt from NCT Holdings, Inc. of a Stock Option
Agreement covering 750 shares of its Class A Common Stock.

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WILLIAM W. WATSON

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NONCOMPETITION AND NONSOLICITATION. AGREEMENT

THIS NONCOMPETITION AND NONSOLICITATION AGREEMENT is made and
entered into as of February 18, 1998, by and between North Carolina Trust Company, a North
Carolina corporation (the “Trust Company”), and J OHN W. WILKS, an officer and employee of

the Trust Company (“Employee”’).
RECITAL °

On February 18, 1998, the Board of Directors of NCT Holdings, Inc. (of which the Trust
Company is a wholly owned subsidiary) granted a stock option to Employee in recognition of
Employee’s value as an officer and key management employee of the Trust Company. The grant
was made subject to the Employee entering into this Agreement and agreeing to the restrictions

on competition and solicitation set forth herein.

NOW, THEREFORE, in consideration of the stock option granted to Employee and in
consideration of the execution and delivery by NCT Holdings, Inc. of the Stock Option
Agreement of even date herewith evidencing the option, Employee agrees as follows:

1. Definitions.

(a) “Company Fiduciary Business” shall mean the business of providing
fiduciary services to individuals, trusts, estates, foundations and other nonprofit entities,
employee benefit plans, and corporations, partnerships and other business entities throughout
North Carolina and in other states, and each and every material aspect of providing such
fiduciary services.

(b) “Company Investment Management Business” shall mean the business of
providing investment management services to individuals, trusts, estates, foundations and other
nonprofit entities, employee benefit plans, and corporations, partnerships and other business
entities throughout North Carolina and in other states, and each and every material aspect of
providing such investment management services.

(c) “Restricted Territory” shall mean the State of North Carolina.

(d)  “Bestricted Client” shall mean each person (including, without limitation,
each individual, trust, trustee, estate, executor, foundation or other nonprofit entity, employee
benefit plan, and corporation, partnership or other business entity) (i} who is a client of the Trust
Company at the time of termination of Employee’s employment or (ii) who was a client at any
time during the one-year period prior to the termination of Employee’s employment or (iii) who

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at the time of termination of Employee’s employment was a prospective client listed on the Trust
Company’s “highest priority” prospect list or its “work-in-process” prospect list.

(e) “Restricted Territory Client” shall mean a Restricted Client having a
residence in the Restricted Territory (in the case of an individual) or having a place of business in
the Restricted Territory (in the case of an entity).

2. Restrictions on Competition and Solicitation. During Employee’s employment by
the Trust Company and, if Employee terminates employment with the Trust Company
voluntarily or if the employment of Employee is terminated by the Trust Company for cause, as
determined in good faith by the Board of Directors of thie Trust Company, for a period of 12
months following such termination: ‘

(a) Employee will not, directly or indirectly through others, within the
Restricted Territory:

(i) Engage in the Company Fiduciary Business or any material aspect
thereof for Employee’s own account, as an employee or in any other capacity,
including, without limitation, as a partner, officer, director, member, manager,
principal, agent, trustee or consultant; or

(ii} | Engage in the Company Investment Management Business or any
material aspect thereof for Employee’s own account, as an employee or in any
other capacity, including, without limitation, as a partner, officer, director,
member, manager, principal, agent, trustee or consultant:

provided, however, that nothing herein shall prevent Employee from being employed by or
affiliated with any person or entity if Employee's duties and responsibilities for such person or
entity are unrelated to any material aspect of the Company Fiduciary Business or the Company
Investment Management Business and provided further that nothing herein shail prevent
Employee from being a passive investor in any entity; and

(vo) Employee will not, directly or indirectly through others, within the
Restricted Territory or elsewhere:

(i) Provide investment management services or fiduciary services of
the type then offered by the Trust Company to or for any Restricted Client or
supervise, manage or otherwise assist in the rendering of any such services to or
for a Restricted Client;

(ii) Provide investment management services or fiduciary services of
the type then offered by the Trust Company to or for any Restricted Territory
Client or supervise, manage or otherwise assist in the rendering of any such
services to or for a Restricted Territory Client;

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(ii) Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any Restricted Client for the purpose of providing to the Restricted
Client any investment management services or fiduciary services of the type then
offered by the Trust Company;

(iv) Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any Restricted Territory Client for the purpose of providing to the
Restricted Territory Client any investment management services or fiduciary
services of the type then offered by the Trust Company;

(v) Influence or persuade or attempt to influence or persuade any
Restricted Client to terminate his, her or its relationship with the Trust Company
or otherwise interfere or attempt to interfere with the relationship between the
Trust Company and any Restricted Client;

(vi) Influence or persuade or attempt to influence or persuade any
Restricted Territory Client to terminate his, her or its relationship with the Trust
Company or otherwise interfere or attempt to interfere with the relationship

between the Trust Company and any Restricted Territory Client, or

(vii) Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any employee of the Trust Company for the purpose of persuading
or influencing the employee to terminate his or her employment with the Trust

Company;

Each of the foregoing covenants in this Section 2 is separate and independent, and the invalidity .
or unenforceability of one or more of these covenants shall not affect the validity or
. enforceability of any remaining covenant.

3. Acknowledgments. Employee acknowledges that (a) as an officer and key
management employee of the Trust Company, Employee has access to the Trust Company’s
client lists, operational methods and processes, marketing plans and strategies, product
development plans and strategies and other similar information and that the Trust Company
would suffer a competitive disadvantage in the event of Employee's involvement in the
Company Fiduciary Business, the Company Investment Management Business or any material
aspect thereof in the Restricted Territory during the 12-month period following termination of
employment; (b) client relationships and the goodwill associated therewith and employee
relationships and the goodwill associated therewith are valuable assets of the Trust Company;
and (c) the Trust Company’s primary client base is in the State of North Carolina but the nature
ofits business and the technology in which it has invested permits the Trust Company to serve
clients in other states, including, but not limited to, Virginia, South Carolina, Florida and
Tennessee. Employee further acknowledges having the ability, skills and experience to support

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- himself or herself other than by engaging in the Company Fiduciary Business or the Company
Investment Management Business.

4. Reasonableness of Restrictions: Blue Pencil Doctrine. Employee agrees that the
restrictions on competition and solicitation set forth in this Agreement are reasonable in scope, in
time, in territory and in all other respects and are reasonable and necessary to protect legitimate
competitive interests and client and employee relationships of the Trust Company. Employee
further acknowledges the uncertainty of the law respecting restrictions on competition and
solicitation and expressly agrees that this Agreement shall be given the construction that renders
its provisions valid and enforceable to the maximurn extent (not exceeding its express terms)
possible under applicable law. Without limiting the generality of the foregoing agreement by
Employee, if the duration or geographical extent of, or business activities covered by, this
Agreement are in excess of what is valid and enforceable under applicable law, then the duration,
geographical extent or business activities shall be reduced or limited to the extent necessary so
that this Agreement will be valid and enforceable.

5. Remedies: Tolling. If Employee breaches, or threatens to breach, any of the
restrictions on competition and solicitation contained in this Agreement (the “Restrictions”}, the
‘Trust Company shall have the following rights and remedies, each of which shall be independent
of the others and severally enforceable, and each of which is in addition to, and not in lieu of, any
other rights and remedies available to the Trust Company under law or in equity:

(a) The right to have an injunction issued by any court of competent
jurisdiction for the purpose of specifically enforcing the Restrictions, it being agreed that
any breach or threatened breach would cause irreparable injury to the Trust Company and
that money damages would not provide an adequate remedy;

(b) The right to other equitable relief, including without limitation the right to
an accounting with respect to all compensation, profits, and other benefits derived or
received by the Employee (or by any person, firm, corporation or other entity on whose
behalf the Employee acted) as the result of any breach of the Restrictions; and

{c) The right to recover from Employee such reasonable attomeys’ fees and
other costs and expenses as the Trust Company may incur in enforcing this Agreement.

If Employee shall violate any of the Restrictions, such violation shall toll the running of the
twelve-month period described in Section 2 above from the date of the violation until the
violation shall cease, ,

6. Change in Control. Notwithstanding the foregoing provisions of this Agreement,
all obligations of Employee under this Agreement shall terminate upon a “Change in Control of
the Trust Company.” A “Change in Control of the Trust Company” shall be deemed to have
occurred if (a) any “person” (as such term is used in Sections 13(d) and 14(d) of the Securities
Exchange Act of 1934) other than NCT Holdings, Inc, becomes the beneficial owner, directly or

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indirectly, of more than 66-2/3% of the combined voting power of the Trust Company’s
outstanding securities having the right to vote at elections of directors or (b) at any election of
directors of the Trust Company, the majority of those directors in office immediately before the
election are not reelected, unless the election of each director who was not a director immediately
before the election was approved in advance by at least a two-thirds majority of those directors

who were in office immediately before the election.

7. Entire Agreement. This Agreement contains the entire agreement and
understanding of the parties with respect to noncompetition and nonsolicitation and supersedes
and replaces all prior agreements and understandings with respect thereto; provided, however,
that all prior agreements between Employee and the Trust Company with respect to
confidentiality and nondisclosure shall remain in full force and effect.

8. No Employment Contract. Nothing contained in this Agreement shall affect the
at-will nature of the Employee’s employment and the right of the Trust Company or the right of
Employee to terminate Employee’s employment at any time and for arty reason or no reason.

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benefit of the Trust Company

5. Miscellaneous. This Agreement shall inure io the
and its successors and assigns and shall be construed in accordance with and governed by the
laws of the State of North Carolina.

IN WITNESS WHEREOF, this Agreement is signed by Employee as of the day first
above written.

fot Wills

JOHN W. WILKS

Employee hereby acknowledges receipt from NCT Holdings, Inc. of.a Stock Option
Agreement covering 1,000 shares of its Class A Common Stock.

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JOHN W. WILKS

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EXHIBIT 2

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CONSENT TO CONTINUATION OF -
. NONCOMPETITION AND NONSOLICITATION AGREEMENT

The undersigned employee (the “Employee” of North Carolina Trust Company
_ (the “Trust Company”) has agreed to the restrictions on competition and solicitation set
forth in the attached Noncompetition and Nonsolicitation Agreement (the “Agreement”).

Section 6 of the Agreement provides that the obligations of the Employee.under
the Agreement will terminate upon 2 “Change in Control of the Trust Company” (as
defined therein). The merger of NCT Holdings, Inc. (“NCT”) into NCT Holdings
Acquisition Company (the “Acquisition Company”), a Wholly owned subsidiary of U.S:
Trust Corporation (“USTC”), pursuant to the Agreement and Plan of Merger dated as of —

- May 14, 1999 between NCT and USTC (the “Plan of Merger”) will constitute a Change
in Control of the Trust Company.

The Employee is the holder of nonvested options to purchase Class A Common
Stock of NCT (the “Options”). Under the terms of the Options, they will terminate upon
the merger of NCT into the Acquisition Company unless the Board of Directors of NCT,
- in its discretion, determines otherwise.

NCT and USTC have agreed to cash out the Options as provided in the Plan of
Merger subject to the Employee's consent to the continuation of the Agreement.

NOW, THEREFORE, in consideration of the cash out of the Options pursuant to
the Plan of Merger, the Employee hereby agrees that, immediately before the merger of
NCT into the Acquisition Company pursuant to the Plan of Merger, Section 6 of the
Agreement shali be deleted in its entirety and the restrictions on competition and
solicitation set forth in the Agreement shall continue in fall force and effect after the

merger.
IN WITNESS WHEREOF, this Consent is signed by the Employee on this

And day of August, 1999.
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M. Jo Brééks

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CONSENT TO CONTINUATION OF
NONCOMPETITION AND NONSOLICITATION AGREEMENT

The undersigned employee (the “Employee”) of North Carolina Trust Company
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Trust Corporation (“USTC”), pursuant to the Agreement and Plan of Merger dated as of
May 14, 1999 between NCT and USTC (the “Plan of Merger”) will constitute a Change

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The Employee is the holder of nonvested options to purchase Class A Common .
Stock of NCT (the “Options”). Under the terms of the Options, they wil] terminate upon
the merger of NCT into the Acquisition Company unless the Board of Directors of NCT,

in its discretion, determines otherwise.

NCT and USTC have agreed to cash out the Options as provided in the Plan of
Merger subject to the Employee’s consent to the continuation of the Agreement.

NOW, THEREFORE, in consideration of the cash out of the Options pursuant to
the Plan of Merger, the Employee hereby agrees that, immediately before the merger of
NCT into the Acquisition Company pursuant to the Plan of Merger, Section 6 of the
Agreement shall be deleted in.its entirety and the restrictions on competition and
solicitation set forth in the Agreement shall continue in full force and effect after the

merger.

IN WITNESS WHEREOF, this Consent is signed by the Employee on this —

gt day of August, 1999.

Glenda R. Burkett

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CONSENT TO CONTINUATION OF
NONCOMPETITION AND NONSOLICITATION AGREEMENT

The undersigned employee (the “Employee”) of North Carolina Trust Company
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defined therein), The merger of NCT Holdings, Inc. (“NCT”) into NCT Holdings
Acquisition Company (the “Acquisition Company”), a wholly owned subsidiary of U.S.
Trust Corporation (“USTC”), pursuant to the Agreement and Plan of Merger dated as of
May 14, 1999 between NCT and USTC (the “Plan of Merger”) will constitute a Change

in Control of the Trust Company.

The Employee is the holder of nonvested options to purchase Class A Common
Stock of NCT (the “Options”). Under the terms of the Options, they will terminate upon
the merger of NCT into the Acquisition Company unless the Board of Directors of NCT,
in its discretion, determines otherwise.

NCT and USTC have agreed to cash out the Options as provided in the Plan of
Merger subject to the Employee’s consent to the continuation of the Agreement.

NOW, THEREFORE, in consideration of the cash out of the Options pursuant to
the Plan’of Merger, the Employee hereby agrees that, immediately before the merger of .
NCT into the Acquisition Company pursuant to the Plan of Merger, Section 6 of the
Agreement shall be deleted in its entirety and the restrictions on competition and
solicitation set forth in the Agreement shall continue in fill force and effect after the

"merger.

-, IN WITNESS WHEREOF, this Consent is signed by the Employee on this
J day of August, 1999,

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AnthonyP. Monforton ~~

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CONSENT TO CONTINUATION OF —

NONCOMPETITION AND NONSOLICITATION AGREEMENT

The undersigned employee (the “Employes”) of North Carolina Trust Company
(the “Trust Company”) has agreed to the restrictions on competition and solicitation set
forth in the attached Noncompetition and Nonsolicitation Agreement (the “Agreement”).

Section 6 of the Agreement provides that the obligations of the Employee under
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Trust Corporation (“USTC"), pursuant to the Agreement and Plan of Merger dated as of

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in Control of the Trust Company. -

The Employes is the holder of nonvested options to purchase Class A Common
Stock of NCT (the “Options”), Under the terms of the Options, they will terminate upon

the merger of NCT into the Acquisition Company unless the Board of Directors of NCT,

in its discretion, determines otherwise.

_NCT and USTC have agresd fo cash out the Options as provided in the Plan of
Merger subject to the Employes’s consent to the continuation of the Agreement.

NOW, THEREFORE, in consideration of the cash out of the Options pursuant to
_the Plan of Merger, the Employes hereby agrees that, immediately before the merger of
NCT into the Acquisition Company pursuant to the Plan of Merger, Section 6 of the
Agreement shall be deleted in its entirety and the restrictiéns on competition and
solicitation set forth in the Agreement shall continue in full force and effect after the

merger.

. li IN WITNESS WHEREOF, this Consent is signed by the Employee on this
day of August, 1999.

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CONSENT TO CONTINUATION OF
NONCOMPETITION AND NONSOLICITATION AGREEMENT

The undersigned employee (the “Employee”) of North Carolina Trust Company
(the “Trust Company”) has agreed to the restrictions on competition and solicitation set
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" Section 6 of the Agreement provides that the obligations of the Employee under
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defined therein). The merger of NCT Holdings, Inc. (“NCT”) into NCT Holdings
Acquisition Company (the “Acquisition Company”), a wholly owned subsidiary of U.S.
Trust Corporation (“USTC”), pursuant to the Agreement and Plan of Merger dated as of
May 14, 1999 between NCT and USTC (the “Pian of Merger”) will constitute a Change

in Control of the Trust Company.

The Employee is the holder of nonvested options to purchase Class.A Common
tock of NCT (the “Options”). Under the terms of the Options, they will terminate upon

the merger of NCT into the Acquisition Company unless the Board of Directors of NCT,
in its discretion, determines otherwise.

NCT and USTC have agreed to cash out the Options as provided in the Plan of
Merger subject to the Employee’s consent to the continuation of the Agreement.

. NOW, THEREFORE, in consideration of the cash out of the Options pursuant to
the Plan of Merger, the Employee hereby agrees that, immediately before the merger of
NCT into the Acquisition Company pursuant to the Plan of Merger, Section 6 of the
Agreement shall be deleted in its entirety and the restrictions on competition and —
solicitation set forth in the Agreement shall continue in full force and effect after the

merger.

IN WITNESS WHEREOF, this Consent is signed by the Employee on this
[Ss 15 tay of August, 1999.

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William W. Watson

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CONSENT TO CONTINUATION OF |
NONCOMPETITION AND NONSOLICITATION AGREEMEN

The undersigned employee (the “Employee”) of North Carolina Trust Company
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Trust Corporation (“USTC”), pursuant to the Agreement and Plan of Merger dated as of
May 14, 1999 between NCT and USTC (the “Plan of Merger’) will constitute a Change
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Stock of NCT (the “Options”). Under the terms of the Options, they will terminate upon
the merger of NCT into the Acquisition Company unless the Board of Directors of NCT,
in its discretion, determines otherwise.

NCT and USTC have agreed to cash out the Options as provided in the Plan of
Merger subject to the Employee’s consent to the continuation of the Agreement. _

NOW, THEREFORE, in consideration of the cash out of the Options pursuant to
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NCT into the Acquisition Company pursuant to the Plan of Merger, Section 6 of the
Agreement shall be deleted in its entirety and the restrictions on competition and
solicitation set forth in the Agreement shall continue in full force and effect after the
merger.

y IN WITNESS WHEREOF, this Consent is signed by the Employee on this
2 day of August, 1999.

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} John W. Wilks

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EXHIBIT 3

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Employment Agreement Regarding
Confidentiality and Non-Solicitation

In consideration of your participation in The Charles Schwab Corporation Long
Term Incentive Plan and The Charles Schwab Corporation 2004 Stock Incentive Plan, as
well as your employment by U.S. Trust Corporation and its subsidiaries (“U.S. Trust”)
and in consideration of the compensation, resources, benefits and the trade secrets and
proprietary information that will be provided to you by U.S. Trust in connection with
your employment, you agree as follows:

1. Confidential and Proprietary Information.

In connection with your employment by U.S. Trust you will have (and you hereby
acknowledge you have) access to sensitive, non-public information of U.S. Trust and its
clients including, but not limited to: a) client-related information (i.e. client names, client
contact information, client lists, client account contents and statements, investment, estate
and taxation strategies, current and historical investment performance data, ete.) b)
employee, vendor and independent contractor information (i.e. names and contact
information, personal and financial information, services, compensation, rate structures
etc.) and c) business information of U.S. Trust (i.e. financial performance, marketing,
sales, product and regulatory information etc.) (collectively “Confidential and Proprietary
Information”). You agree that you will not disclose or permit or facilitate disclosure of
Confidential and Proprietary Information to persons outside U.S. Trust or use such |
information for purposes other than as specifically authorized by U.S. Trust for purposes

intended by. U.S. Trust.

2. Non-Solicitation of Clients and Employees.

_To further protect Confidential and Proprietary Information of U.S. Trust and the
good will associated with the client and prospective client relationships of U. S. Trust,
you agree that:

a) during your employment with U.S. Trust, and for a period of twelve
(12) months following termination of your employment with U.S. Trust,
you will not, directly or indirectly, solicit or induce existing or prospective
U.S. Trust clients, to whom you provided services or with respect to
whom you devoted efforts seeking to provide such services, to transfer or
divert business from U.S. Trust or otherwise to avoid, diminish or
discontinue a relationship with U.S. Trust and

b) during your employment with U.S. Trust, and for a period of twelve
(12) months following termination of your employment with U.S. Trust,
you will not, directly or indirectly, solicit, induce or encourage any U.S.

Trust employee to terminate employment with U.S. Trust to join a
business competitive with the businesses of U.S. Trust.

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3. Return of Records -

Immediately upon termination of your employment with U.S. Trust, you agree to
return all Confidential and Proprietary Information in your possession, custody and
contro! to U.S. Trust and provide a sworn certification attesting that you have done so.

4. Arbitration

Any dispute or claim arising out of, based upon or relating to this Agreement will
be settled and finally determined by arbitration. Arbitration will be conducted before the
American Arbitration Association. You further agree that, notwithstanding your
agreement to arbitrate, in connection any breach or threatened breach of this Agreement,
U.S. Trust may proceed first to any federal or state court of competent jurisdiction to seek
temporary or preliminary injunctive relief to enforce the provisions of this Agreement in
aid or support of the arbitration proceeding. An application before a court for injunctive
relief shali not be construed as a waiver, by either party, of the right or obligation of the
parties to resolve claims through arbitration. In the event of a breach by you of Section
2a) or 2b) of this Agreement, you agree that, in addition to all other legal and equitable
remedies available to U.S. Trust, U.S. Trust shall be entitled to, as liquidated damages,
and not as a penalty, an amount equal to the greater of a) the revenue received by U.S.
Trust during the twelve month period immediately proceeding the termination of your
employment with U.S. Trust from each client you served at U.S. Trust who has
transferred or diverted business from U.S. Trust to you or to-any entity with whom you
have become associated or b) the revenue received by you or by any entity with whom
you may be associated for the twelve month period following termination of your
employment with U.S. Trust from each client you served at U.S. Trust.

5. Discovery

You agree that should U.S. Trust seek temporary or preliminary injunctive relief
with regard to the breach or threatened breach by you of this Agreement, U.S. Trust shall
be entitled to expedited discovery including depositions, whether or not the laws of the
jurisdiction or applicable arbitration rules provide for such expedited discovery.

6. Choice of Law

This agreement shall be governed by and construed in accordance with the laws
of the State of New York without reference to the principles of conflicts of law.

7. Severability

if any provision of this Agreement is found to be invalid or unenforceable, that
provision or portion thereof shall be enforced to the maximum extent possible, and the
remaining provisions or portions thereof shall remain in full force and effect.

8. _Attornevs Fees and Costs

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In the event that a party to this Agreement brings an action to enforce any
provisions of the Agreement, the prevailing party shall be entitled to its attorneys’ fees
and costs incurred to enforce such claims.

9, Reconciliation with Other Agreements

This Agreement is intended to be supplemental to, and not supersede any
employment agreement or other agreement that you may have entered into previously
with U.S. Trust. If a provision in this Agreement conflicts with or is inconsistent with
any provision in such previous agreement, you agree that the provision that is most
favorable to U.S. Trust (in U.S. Trust’s sole determination) shall control.

Nothing herein shall be deemed to waive and/or release you from your obligations
to comply with the U.S. Trust Corporation Code of Business Conduct and Ethics and all
other applicable Policies and Procedures of U.S. Trust, familiarity with which you hereby
acknowledge. Further, nothing in this Agreement changes: your “at will” employment

status, and that either you or U.S. Trust may end the employment relationship at any
time, with or without notice, for any reason or for no reason at all.

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Bate
dployee Signature

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Employee Name

 

 

 

Date . U.S. Trust Entity Name

 

By:
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